  Case 7:20-cv-00416-EKD Document 7 Filed 09/18/20 Page 1 of 1 Pageid#: 27




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                       ROANOKE

 Nelson Barre, et al,                             )
                                                  )
                          Plaintiffs              )
                                                  )
 v.                                               )   Civil Action No. 7:20cv00416
                                                  )
 DCN Holdings, Inc.,                              )
                                                  )
                          Defendant               )


                              CLERK’S ENTRY OF DEFAULT

       The above action was filed in this Court on September 17, 2020. The Defendant DCN
Holdings, Inc. were served on the following dates, and the Plaintiff has provided to the court an
affidavit and/or other evidence demonstrating proper service of the complaint on Defendant:


 DCN Holdings, Inc.                               July 28, 2020


       The time for the defendant to appear, answer or otherwise defend having expired, the
undersigned Clerk does hereby enter default as to the following defendant:
                                         DCN Holdings, Inc.


       See Federal Rules of Civil Procedure, Rule 55(a).
       Copies of this Entry of Default shall be provided to all counsel of record and to the
Defendant.


                                       This 18th day of September, 2020

                                       JULIA C. DUDLEY, CLERK


                                       By:    s/A. Beeson
                                              Deputy Clerk
